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           EXHIBIT D
        Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 2 of 28




                             STATE COURT OF COBB COUNTY
                                  STATE OF GEORGIA

 KIM HILL and ADAM HILL, surviving               :
 children and Co-Administrators of the           :
 Estates of Melvin Hill and Voncile Hill,        :
 deceased,

        Plaintiffs,
                                                           CIVIL ACTION FILE NO.:
 V.                                                              14A3455-3

FORD MOTOR COMPANY, COOPER                      :
TIRE & RUBBER COMPANY, THE PEP                  :
BOYS-MANNY, MOE & JACK (Inc.),                  :               FILED IN THIS OFFICE
CURTIS CLINTON THOMPSON, JR.,                   :              THIS J DAY OF  4-, 215"
WILLIE BRAS WELL, and DONALD                    :
TAYLOR,
                                                                    Clerk,   tate Court of Cobb County
        Defendants.


         STIPULATED SHARING AND NON-SHARING PROTECTIVE ORDER


       In order to preserve and maintain the confidentiality of certain confidential, commercial

and/or proprietary documents and information produced or to be produced by FORD MOTOR

COMPANY ("Ford") in this action, it is ordered that:

       1.      Documents to be produced by Ford in this litigation that contain confidential,

commercially sensitive and/or proprietary information shall hereafter be referred to as "Protected

Documents." A document or portion of a document that Ford determines in good faith to be a

Protected Document may be designated as confidential by marking or placing the applicable

notice "Subject to Non-Sharing Protective Order," "Subject to Protective Order," "Confidential."

or substantially similar language on media containing Protected Documents, on the document

itself, or on a copy of the document, in such a way that it does not obscure the text or other

content of the document.
         Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 3 of 28




         2.      As used in this Order, the term "documents" means all written material,

 videotapes and all other tangible items, produced in whatever format (e.g., hard copy, electronic,

 digital, etc.) and on whatever media (e.g., hard copy, videotape, computer diskette, CD-ROM,

 DVD, hard drive or otherwise).

         3.      Any document or any information designated as "Subject to Non-Sharing

 Protective Order," "Subject to Protective Order," "Confidential," or substantially similar

 language in accordance with the provisions of this Order shall only be used, shown or disclosed

 as provided in this Order. However, nothing in this Order shall limit a party's use or disclosure

of his or her own information designated as Confidential Material.

        4.       If a party disagrees with the "Protected" designation of any document, the party

will so notify Ford in a written letter, within 60 days of receipt of the confidential documents and

information, identifying the challenged document(s) with specificity, including Bates-number(s)

where available. If the parties are unable to resolve the issue of confidentiality regarding the

challenged document(s), Ford will thereafter timely apply to the Court to set a hearing for the

purpose of establishing that the challenged document(s) is/are confidential. Any document so

marked as "Protected" will continue to be treated as such pending determination by the Court as

to its confidential status.

        5.      Protected Documents and any copies thereof received pursuant to paragraph 8

below shall be maintained confidential by the receiving party, his/her attorney, other

representatives, and expert witnesses, and shall be used only for preparation for the trial of this

matter, subject to the limitations set forth herein.

        6.      The following Volvo documents, which contain trade secrets or other confidential

research, development and commercial information, are subject to the provisions contained




                                                   2
          Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 4 of 28




herein.    Except as otherwise indicated, all Volvo documents designated as "Confidential,"

"Subject to Protective Order," or words to that effect, and corresponding testimony, shall be

Protected Documents and be given confidential treatment as described herein.

                a.    Roof Strength Related to Weight Volvo XC90, page 30-012 of Binder 4.

                      References FKB & Test Report 270720 (bates numbers: FKB = VLV1

                      0346-0437, Test 270720 = VLVI 0438-0457).

                b.    Chart: FMVSS 216 Plot Comparison 1997-2007 Ford Econoline v. Volvo

                      XC90, page 30-024 of Binder 4. Uses data from Test Report 270720

                      (bates numbers Test 270720 = VLV1 0438-0457).

               c.     Slides entitled "According to a Volvo document," and "According to a

                      Volvo Test Report," pages 30-198 to 30-204 of Binder 4. These

                      documents all contain pages from Volvo's protected FKB or Volvo's

                      protected test reports (bates numbers: FKB = VLV1 0346-0437, Test

                      256272 = VLV1 0253-0274, Test 258834 = VLVI 0275-0291, Test 260663

                      = VLV1 0229-0252, Test 261760 = VLV1 0203-0228, Test 262279 = VLVI

                     0292-0313, Test 270720 = VLVI 0438-0457).

               d.    FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

               e.    P28 Drop Test. Test No 003051. 4 August 2000, bates numbered VCC4

                     0050-0054.

               f.    Dynamic drop-test of a Volvo S80, Test No. 003035, bates numbered

                     VLVI 0229-0252.

               g.    XC90 Rollover. 8 May 2003, bates numbered VCC4 0048-0049.




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Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 5 of 28




          h.    Volvo P28 S3-1 CAE analyses of rollover drop test. 1 April 2001 - 5

                August 2002, bates numbered VL V 1 0314-0345.

          i.    Volvo Inverted Drop Test Video.m2v, bates numbered VL V 11866.

      j.        Pages from Volvo's Confidential "Crashworthiness FKB," pages 30-206 to

                30-217 of Binder 4, bates numbered VL V 1 0346-043 7.

      k.        Test report 256272, pages 30-219 to 30-240 of Binder 4, bates numbered

               VLV1 0253-0274.

      1.       Test report 258834, pages 30-242 to 30-258 of Binder 4, bates numbered

               VLVI 0275-0291.

      m.       Test report 260663, pages 30-260 to 30-283 of Binder 4, bates numbered

               VL V 1 0229-0252.

      n.       P28 drop test, pages 30-285 to 30-292 of Binder 4, bates numbered VCC4

               0050-0057.

     o.        Test report 261760, pages 30-294 to 30-319 of Binder 4, bates numbered

               VLV1 0203-0228.

     p.        Test report 262279, pages 30-321 to 30-342 of Binder 4, bates numbered

               VLV1 0292-0313.

     q.        "Volvo P28 S3:1 MU2, S022, and Test 003051 and R2831 —CAE

               Analyses of Rollover Drop Test," pages 30-344 to 30-375 of Binder 4,

               bates numbered VL V 1 0314-0345.

     r.        Test report 270720, pages 30-390 to 30-396 of Binder 4, bates numbered

               VLV1 0438-0444.

     s.        Volvo Technical Report LM-135581, bates numbered 004629-004896.
        Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 6 of 28




                t.     1992 Rollover Advanced Engineering Study, bates numbered VLV2 0213-

                       0251.

                u.     1992 Rollover Advanced Engineering Study in Swedish bates numbered

                       VL Vi 1872-1911.

               V.      TF Rollover MU 1997 bates numbered VL V 4 0001-0026.

               w.     TF Rollover MU 1997 in Swedish bates numbered VL V 1 0664-0689.

               x.     Volvo P28 S3:1 CAE Analysis of Rollover Drop Test bates numbered

                      VLVI 0314-0345.

               y.      FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

               z.     FKB Complete Vehicle P28, bates numbered VL V 1 0346-043 7.

               aa.    Test Report 260663, bates numbered VLVI 0229-0252.

               bb.    Test Report 256272, bates numbered VLVI 0253-0274.

               cc.    Test Report 258834, bates numbered VLVI 0275-0291.

               dd.    Test Report 262279, bates numbered VLVI 0292-0313.

               ce.    Test Report 270720, bates numbered VLV1 0438-0444

              ff.     Rollover, bates numbered VCC4 0009-0021.

              gg.     Memo from Ehrs re Report re Volvo Cars Safety Centre, bates numbered

                      VCC6 0339-0341.

              hh.     Test Report 262279, bates numbered VLVI 0292-0313.

              ii.     Test Report 256272, bates numbered VLVI 0253-0274.

              jj.    Test Report 258834, bates numbered VLV1 0275-0291

       7.     If Ford or Volvo learns of other trade secret or proprietary Volvo documents in

the Possession of Plaintiffs' counsel or expert, Ford and Volvo reserve the right to seek

protection of those documents and corresponding testimony under this Order.


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        8.      Protected Documents shall be disclosed only to "Qualified Persons." Qualified

 Persons are limited to:

                a.         Counsel of Record for the parties, and the parties;

                b.         Non-technical and clerical staff employed by Counsel of Record and

                           involved in the preparation and trial of this action;

                c.     Experts and non-attorney consultants retained by the parties for the

                       preparation and/or trial of this case, provided that no disclosure shall be

                       made to any expert or consultant who is employed by a competitor of

                       Ford; and

                d.     The Court, the Court's staff, witnesses, and the jury in this case; and

               e.      With respect to documents designated as "Sharing" or "Subject to

                       Protective Order," attorneys representing Plaintiff(s) and the experts and

                       non-attorney consultants retained by such attorneys in other cases pending

                       against Ford involving a 1999-2007 Ford F-250, F-350, F-450, or F-550

                       involved in a rollover with claims that the roof or restraint system were

                       defective, provided no disclosure shall be made to any expert or consultant

                       who is employed by a competitor of Ford.

       9.      Counsel for all parties in this case must make reasonable efforts to ensure the

individuals described in paragraphs 8(c) and 8(e) above are Qualified Persons.

       10.     Before receiving access to any Protected Document or the information contained

therein, each person described in paragraphs 8(c) and 8(e) above shall execute a "Written

Assurance" in the form contained in Exhibit A, attached hereto. Counsel for all parties in this

case shall retain each such executed Written Assurance and shall keep a list identifying (a) all




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 persons described in paragraphs 8(c) and 8(e) above to whom Protected Documents have been

 disclosed, and (b) all Protected Documents disclosed to such persons. In the event that Ford

 seeks to compel the production of each unredacted and executed Exhibit A for good cause,

 Counsel for all parties in this case shall submit each unredacted and executed Exhibit A and list

to the Court for in camera inspection. Persons described in paragraph 8(b) shall be covered

under the signature of Counsel of Record.

        11.     As the Protected Documents may only be distributed to Qualified Persons,

Plaintiffs/Plaintiffs Counsel, and all persons described in paragraph 8 above, may not post

Protected Documents on any website or internet accessible document repository and shall not

under any circumstance sell, offer for sale, advertise, or publicize either the Protected Documents

and the Confidential information contained therein or the fact that such persons have obtained

Ford's Protected Documents and Confidential information.

        12.    To the extent that Protected Documents or information obtained therefrom are

used in the taking of depositions and/or used as exhibits at trial, such documents or information

shall remain subject to the provisions of this Order, along with the transcript pages of the

deposition testimony and/or trial testimony dealing with, referring to or referencing the Protected

Documents or information.

        13.    All documents that are filed with the Court that contain any portion of any

Protected Document or information taken from any Protected Document shall be filed under seal

pursuant to local court practice or in a sealed envelope or other appropriate sealed container on

which shall be endorsed the title of the action to which it pertains, an indication of the nature of

the contents of such sealed envelope or other container, the phrase "Subject to Protective Order"

or "Subject To Non-Sharing Protective Order," and a statement substantially in the following




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 form: "This envelope or container shall not be opened without order of the Court, except by

 officers of the Court and counsel of record, who, after reviewing the contents, shall return them

to the clerk in a sealed envelope or container."

          14.   Any court reporter or transcriber who reports or transcribes testimony in this

action shall agree that all "confidential" information designated as such under this Order shall

remain "confidential" and shall not be disclosed by them, except pursuant to the terms of this

Order, and that any notes or transcriptions of such testimony (and any accompanying exhibits)

will be retained by the reporter or delivered to counsel of record.

         15.    To the extent Ford is requested to produce documents it has determined should

not be subject to the sharing provision of this protective order in paragraph 8(e), Ford will

designate such documents as "Non-Sharing." Documents designated as "Non-Sharing" shall not

be shared under paragraph 8(e).

         16.    With respect to Protected Documents designated as "Non-Sharing," within one

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 8(c) above, shall either (a) return to Ford the Protected

Documents; or (b) securely destroy the Protected Documents and certify such destruction to Ford

within one hundred and fifty (150) days after the conclusion of this case.

         17.    With respect to documents designated as "Sharing" or "Subject to Protective

Order," Counsel for the parties shall not be required to return the Protected Documents to Ford

after the conclusion of this case and may retain the documents pursuant to the terms of this

Order.




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        18.    Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Document(s) shall not be

deemed a waiver in whole or in part of the party's claims of confidentiality.

        19.    The parties may disclose and produce responsive documents to each other in this

litigation, and seek to do so without risking waiver of any attorney-client privilege, work product

or other applicable privilege or protection. As such, the parties will adhere to the following

procedures with regard to the production of privileged or protected material, should that occur:

               a.     The production of documents (including both paper documents and

                      electronically stored information or "ESI") subject to protection by the

                      attorney-client and/or work product doctrine or by another legal privilege

                      protecting information from discovery, shall not constitute a waiver of any

                      privilege or other protection, provided that the producing party notifies

                      the receiving party, in writing, of the production after its discovery of the

                      same.

               b.     If the producing party notifies the receiving party after discovery that

                      privileged materials (hereinafter referred to as the "Identified Materials")

                      have been 'produced, the Identified Materials and all copies of those

                      materials shall be returned to the producing party or destroyed or deleted,

                      on request of the producing party. The producing party will provide a

                      privilege log providing information required by the Georgia Civil Practice

                      Act and applicable case law to the receiving party at the time the

                      producing party provides the receiving party notice of the Identified

                      Materials.   If the receiving party has any notes or other work product




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            reflecting the contents of the Identified Materials, the receiving party will

            not review or use those materials unless a court later designates the

            Identified Materials as not privileged or protected.

      c.    The Identified Materials shall be deleted from any systems used to house

            the documents, including document review databases, e-rooms and any

            other location that stores the documents. The receiving party may make

            no use of the Identified Materials during any aspect of this matter or any

            other matter, including in depositions or at trial, unless the documents

            have been designated by a court as not privileged or protected.

      d.    The contents of the Identified Materials shall not be disclosed to anyone

           who was not already aware of the contents of them before the notice was

           made.    The receiving party must take reasonable steps to retrieve the

           Identified Materials if the receiving party disclosed the Identified

           Materials before being notified.

     e.    If any receiving party is in receipt of a document from a producing party

           which the receiving party has reason to believe is privileged, the receiving

           party shall in good faith take reasonable steps to promptly notify the

           producing party of the production of that document so that the producing

           party may make a determination of whether it wishes to have the

           documents returned or destroyed pursuant to this Stipulation and Order.

     f.    The party returning the Identified Materials may move the Court for an

           order compelling production of some or all of the Identified Material
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                       returned or destroyed, but the basis for such motion may not be based on

                       the fact or circumstances of the production.

               g.     The disclosure of Identified Materials in this action is not a waiver of the

                      attorney-client privilege, work product doctrine or any other asserted

                      privilege in any other federal or state proceeding.

       20.     In the event that a party produces a document without a confidentiality

designation as permitted by this Order, the following procedures shall apply:

               a.     The producing party shall, within fourteen (14) days of the discovery of

                      the disclosure, notify the other party in writing. The party receiving such

                      notice shall promptly destroy the document, including any copies it has, or

                      return the document on request of the producing party. Within ten (10)

                      days after such document is returned or its destruction certified, the

                      producing party will produce a new version of any such document that

                      was   returned   or destroyed,     which will     contain the appropriate

                      confidentiality designation.

              b.      If the receiving party disputes the producing party's claim of

                      confidentiality, that party may move the Court to challenge the

                     confidential designation in accordance with Paragraph 4 of this Order. If

                     the receiving party elects to file such a motion, the receiving party may

                     retain possession of the document, but shall treat it in accordance with the

                     terms of the Protective Order pending resolution of the motion.       If the

                     receiving party's motion is denied, the parties shall promptly comply with

                     Paragraph 20(a) of this Order.




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                   c.      The production of such document does not constitute a waiver of any

                           claim of confidentiality as set forth in this order or any other matter in any

                           other jurisdiction, unless otherwise ordered by the Court.

         21.       This Protective Order may not be waived, modified, abandoned or terminated, in

 whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

         22.       After termination of this litigation, the provisions of this Order shall continue to

be binding. This Court retains and shall have jurisdiction over the parties and recipients of the

Protected Documents for enforcement of the provisions of this Order following termination of

this litigation.

        23.        This Protective Order shall be binding upon the parties in this case, upon their

attorneys, and upon the parties' and their attorneys' successors, executors, personal

representatives, administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, independent contractors, or other persons or organizations over which they

have control.




                                                                                            ,2015.
            utler, Jr., Esq.
      la Bar No. 099625
Brandon L. Peak, Esq.
Georgia Bar No. 141605
Morgan E. Duncan, Esq.
Georgia Bar No. 159929
BUTLER WOOTEN CHEELEY & PEAK, LLP
105 13th Street
Post Office Box 2766
Columbus, Georgia 31902


                                                   12
      Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 14 of 28




                                           DATED:                      , 2015.
Mich el R. Boorman, Esq.
Georgia Bar No. 067798
David A. Terry, Esq.
Georgia Bar No. 051508
HUFF, POWELL & BAILEY, LLC
999 Peachtree Street NE
Suite 950
Atlanta, Georgia 30309
Attorneys for Defendant Ford
Motor Company

      So Ordered, this/ t day of            , 2015.



                                     tiLlos4-0-^"      A--49-vte
                                   Honorable Irma Glover
                                   Judge, State Court of Cobb County




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       Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 15 of 28



                     IN THE STATE COURT OF GWINNETT COUNTY
                                STATE OF GEORGIA         17 MAR
                                                                                   20 PH
                                                                                            3: 02
KIM HILL and ADAM HILL, surviving                                       RicHARO
children and Co-Administrators of the                                                      f?, CI ERK
Estates of Melvin Hill and Voncile Hill,
deceased,

       Plaintiffs,
                                                           CIVIL ACTION FILE NO.:
V.                                                               16 C 04179-2

FORD MOTOR COMPANY, THE PEP
BOYS-MANNY, MOE & JACK (Inc.),
CURTIS CLINTON THOMPSON, JR.,
WILLIE BRASWELL, and DONALD
TAYLOR,

       Defendants.



         STIPULATED SHARING AND NON-SHARING PROTECTIVE ORDER


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and/or proprietary documents and information produced or to be produced by FORD MOTOR

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Documents." A document or portion of a document that Ford determines in good faith to be a

Protected Document may be designated as confidential by marking or placing the applicable

notice "Subject to Non-Sharing Protective Order," "Subject to Protective Order," "Confidential,"

or substantially similar language on media containing Protected Documents, on the document

itself, or on a copy of the document, in such a way that it does not obscure the text or other

content of the document.
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        2.      As used in this Order, the term "documents" means all written material,

videotapes and all other tangible items, produced in whatever format (e.g., hard copy, electronic,

digital, etc.) and on whatever media (e.g., hard copy, videotape, computer diskette, CD-ROM,

DVD, hard drive or otherwise).

        3.      Any document or any information designated as "Subject to Non-Sharing

Protective Order," "Subject to Protective Order," "Confidential," or substantially similar

language in accordance with the provisions of this Order shall only be used, shown or disclosed

as provided in this Order. However, nothing in this Order shall limit a party's use or disclosure

of his or her own information designated as Confidential Material.

        4.      If a party disagrees with the "Protected" designation of any document, the party

will so notify Ford in a written letter, within 60 days of receipt of the confidential documents and

information, identifying the challenged document(s) with specificity, including Bates-number(s)

where available. If the parties are unable to resolve the issue of confidentiality regarding the

challenged document(s), Ford will thereafter timely apply to the Court to set a hearing for the

purpose of establishing that the challenged document(s) is/are confidential. Any document so

marked as "Protected" will continue to be treated as such pending determination by the Court as

to its confidential status.

        5.      Protected Documents and any copies thereof received pursuant to paragraph 8

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matter, subject to the limitations set forth herein.

        6.      The following Volvo documents, which contain trade secrets or other confidential

research, development and commercial information, are subject to the provisions contained




                                                   2
          Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 17 of 28



herein.    Except as otherwise indicated, all Volvo documents designated as "Confidential,"

"Subject to Protective Order," or words to that effect, and corresponding testimony, shall be

Protected Documents and be given confidential treatment as described herein.

                a.    Roof Strength Related to Weight Volvo XC90, page 30-012 of Binder

                      4. References FKB & Test Report 270720 (bates numbers: FKB =

                      VLVI 0346-0437, Test 270720 = VLVI 0438-0457).

               b.     Chart: FMVSS 216 Plot Comparison 1997-2007 Ford Econoline v. Volvo

                      XC90, page 30-024 of Binder 4. Uses data from Test Report 270720

                      (bates numbers Test 270720 = VLVI 0438-0457).

                c.    Slides entitled "According to a Volvo document," and "According to a

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                      documents all contain pages from Volvo's protected FKB or Volvo's

                      protected test reports (bates number: FKB = VLV1 0346-0437, Test

                      256272 = VLV1 0253-0274, Test 258834 = VLV1 0275-0291, Test

                      260663 = VLV1 0229-0252, Test 261760 = VLV1 0203-0228, Test

                      262279 = VLV1 0292-0313, Test 270720 = VLV1 0438-0457).

               d.     FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

               e.     P28 Drop Test. Test No. 003051. 4 August 2000, bate numbered VCC4

                      0050-0054.

               f.     Dynamic drop-test of a Volvo S80, Test No. 003035, bates numbered

                      VLV1 0229-0252.

               g.     XC90 Rollover. 8 May 2003, bates numbered VCC4 0048-0049.




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Case 1:23-cv-03107-TWT Document 53-4 Filed 11/03/23 Page 18 of 28



   h.    Volvo P28 S3-1 CAE analyses of rollover drop test. 1 April 2001- 5

         August 2002, bates number VLV1 0314-0345.

   i.    Volvo Inverted Drop Test Video.m2v, bates numbered VLV1 1866.

   j.    Pages from Volvo's Confidential "Crashworthiness FKB," pages 30-206

         to 30-217 of Binder 4 bates numbered VLV1 0346-0437.

   k.    Test report 256272, pages 30-219 to 30-240 of Binder 4, bates

         numbered VLV1 0253-0274.

   L     Test report 258834, pages 30-242 to 30-258 of Binder 4, bates

         numbered VLV1 0275-0291.

   m.    Test report 260663, pages 30-260 to 30-283 of Binder 4, bates

         numbered VLV1 0229-0252.

   n.    P28 drop test, pages 30-285 to 30-292 of Binder 4, bates numbered

         VCC4 0050-0057.

   o.    Test report 261760, pages 30-294 to 30-319 of Binder 4, bates

         numbered VLV1 0203-0228.

   p.    Test report 262279, pages 30-321 to 30-342 of Binder 4, bates

         numbered VLV1 0292-0313.

   q.    "Volvo P28 S3:1 MU2, S022, and Test 003051 and R2831 —

         CAE Analyses of Rollover Drop Test," pages 30-344 to 30-375 of

         Binder 4, bates numbered VLV1 0314-0345.

   r.    Test report 270720, pages 30-390 to 30-396 of Binder 4, bates

         numbered VLV1 0438-0444.

   s.    Volvo Technical Report LM-135581, bates numbered 004629-004896.
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      t.    1992 Rollover Advanced Engineering Study, bates numbered VLV2

            0213- 0251.

      u.    1992 Rollover Advanced Engineering Study in Swedish bates

            numbered VLV1 1872-1911.

      v.    TF Rollover MU 1997 bates numbered VLV4 0001-0026.

      w.    TF Rollover MU 1997 in Swedish bates numbered VLV1 0664-0689.

      x.    Volvo P28 S3:1 CAE Analysis of Rollover Drop Test bates

            numbered VLVI 0314-0345.

      y.    FKB Complete Vehicle P2X, bates numbered VCC2 2059-2127.

      z.    FKB Complete Vehicle P28, bates numbered VLV1 0346-0437.

      aa.   Test Report 260663, bates numbered VLVI 0229-0252.

      bb.   Test Report 256272, bates numbered VLVI 0253-0274.

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      ee.   Test Report 270720, bates numbered VLVI 0438-0444.

      ff.   Rollover, bates numbered VCC4 0009-0021.

      gg.   Memo from Ehrs re Report re Volvo Cars Safety Centre, bates

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      ii.   Test Report 256272, bates numbered VLV1 0253-0274.

     jj.    Test Report 258834, bates numbered VLV1 0275-0291.
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       7.      If Ford or Volvo learns of other trade secret or proprietary Volvo documents in

the Possession of Plaintiffs' Counsel or expert, Ford and Volvo reserve the right to seek

protection of those documents and corresponding testimony under this Order.

       8.      Protected Documents shall be disclosed only to "Qualified Persons."

Qualified Persons are limited to:

               a.     Counsel of Record for the parties, and the parties;

               b.     Non-technical and clerical staff employed by Counsel of Record and

                      involved in the preparation and trial of this action;

               c.     Experts and non-attorney consultants retained by the parties for the

                      preparation and/or trial of this case, provided that no disclosure shall be

                      made to any expert or consultant who is employed by a competitor of

                      Ford; and

               d.     The Court, the Court's staff, witnesses, and the jury in this case; and

               e.     With respect to documents designated as "Sharing" or "Subject to

                      Protective Order," attorneys representing Plaintiff(s) and the experts and

                      non-attorneys consultants retained by such attorneys in other cases

                      pending against Ford involving a 1999-2007 Ford F-250, F-350, F-450, or

                      F-550 involved in a rollover with claims that the roof or restraint system

                      were defective, provided no disclosure shall be made to any expert or

                      consultant who is employed by a competitor of Ford.

       9.      Counsel for all parties in this case must make reasonable efforts to ensure

the individuals described in paragraphs 8(c) and 8(e) above are Qualified Persons.




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       10.     Before receiving access to any Protected Document or the information

contained therein, each person described in paragraphs 8(c) and 8(e) above shall

execute a "Written Assurance" in the form contained in Exhibit A, attached hereto.

Counsel for all parties in this case shall retain each such executed Written Assurance and

shall keep a list identifying (a) all persons described in paragraphs 8(c) and 8(e) above to

whom Protected Documents have been disclosed, and (b) all Protected Documents

disclosed to such persons. In the event that Ford seeks to compel the production of each

unredacted and executed Exhibit A for good cause, Counsel for all parties in this case

shall submit each unredacted and executed Exhibit A and list to the Court for in camera

inspection. Persons described in paragraph 8(b) shall be covered under the signature of

Counsel of Record.

       11.     As the Protected Documents may only be distributed to Qualified

Persons, Plaintiff s/Plaintiffs' Counsel, and all persons described in paragraph 8 above,

may not post Protected Documents on any website or internet accessible document

repository and shall not under any circumstance sell, offer for sale, advertise, or publicize

either the Protected Documents and the Confidential information contained therein or the

fact that such persons have obtained Ford's Protected Documents and Confidential

information.

       12.     To the extent that Protected Documents or information obtained therefrom

are used in the taking of depositions and/or used as exhibits at trial, such documents or

information shall remain subject to the provisions of this Order, along with the

transcript pages of the deposition testimony and/or trial testimony dealing with, referring to

or referencing the Protected Documents or information.




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       13.    All documents that are filed with the Court that contain any portion of

any Protected Document or information taken from any Protected Document shall be filed

under seal pursuant to local court practice or in a sealed envelope or other appropriate

sealed container on which shall be endorsed the title of the action to which it pertains, an

indication of the nature of the contents of such sealed envelope or other container, the phrase

"Subject to Protective Order," or "Subject To Non-Sharing Protective Order," and a

statement substantially in the following form:      "This envelope or container shall not be

opened without order of the Court, except by officers of the Court and counsel of record,

who, after reviewing the contents, shall return them to the clerk in a sealed envelope or

container."

       14.    Any court reporter or transcriber who reports or transcribes testimony in this

action shall agree that all "confidential" information designated as such under this Order

shall remain "confidential" and shall not be disclosed by them, except pursuant to the terms

of this Order, and that any notes or transcriptions of such testimony (and any accompanying

exhibits) will be retained by the reporter or delivered to counsel of record.

       15.    To the extent Ford is requested to produce documents it has determined should

not be subject to the sharing provision of this protective order in paragraph 8(e), Ford will

designate such documents as "Non-Sharing." Documents designated as "Non-Sharing" shall

not be shared under paragraph 8(e).

       16.    With respect to Protected Documents designated as "Non-Sharing," within one

hundred and twenty (120) days after the conclusion of this case, counsel for the parties who

received Protected Documents, including any documents that any such party disclosed to any

person described in paragraph 8(c) above, shall either (a) return to Ford the Protected




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Documents; or (b) securely destroy the Protected Documents and certify such destruction to

Ford within one hundred and fifty (150) days after the conclusion of this case.

         17.   With respect to documents designated as "Sharing" or Subject to Protective

Order," Counsel for the parties shall not be required to return the Protected Documents to Ford

after the conclusion of this case and may retain the documents pursuant to the terms of this

Order.

         18.   Inadvertent or unintentional production of documents or information containing

confidential information that should have been designated as Protected Documents(s) shall not

be deemed a waiver in whole or in part of the party's claims of confidentiality.

         19.   The parties may disclose and produce responsive documents to each other in this

litigation, and seek to do so without risking waiver of any attorney-client privilege, work

product or other applicable privilege or protection. As such, the parties will adhere to the

following procedures with regard to the production of privileged or protected material, should

that occur:

               a.     The production of documents (including both paper documents and

                      electronically stored information or "ES I") subject to protection by the

                      attorney-client and/or work product doctrine or by another legal privilege

                      protecting information from discovery, shall not constitute a waiver of

                      any privilege or other protection, provided that the producing party

                      notifies the receiving party, in writing, of the production after its

                      discovery of the same.

               b.     If producing party notifies the receiving party after discovery that

                      privileged materials (hereinafter referred to as the "Identified Materials")




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         have been produced, the Identified Materials and all copies of those

         materials shall be returned to the producing party or destroyed or

         deleted, on request of the producing party. The producing party will

         provide a privilege log providing information required by the Georgia

         Civil Practice Act and applicable case law to the receiving party at the

         time the producing party provides the receiving party notice of the

         Identified Materials. If the receiving party has any notes or other work

         product reflecting the contents of the Identified Materials, the receiving

         party will not review or use those materials unless a court later

         designates the Identified Materials as not privileged or protected.

   c.    The Identified Materials shall be deleted from any systems used to

         house the documents, including document review databases, e-rooms

         and any other location that stores the documents. The receiving party

         may make no use of the Identified Materials during any aspect of this

         matter or any other matter, including in depositions or at trial,

         unless the documents have been designated by a court as not privileged

         or protected.

   d.    The contents of the Identified Materials shall not be disclosed to

         anyone who was not already aware of the contents of them before the

         notice was made. The receiving party must take reasonable steps to

         retrieve the Identified Materials if the receiving party disclosed

         the Identified Materials before being notified.
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               e.    If any receiving party is in receipt of a document from a producing

                    party which the receiving party has reason to believe is privileged, the

                    receiving party shall in good faith take reasonable steps to

                    promptly notify the producing party of the production of that

                    document so that the producing party may make a determination

                    of whether it wishes to have the documents returned or destroyed

                    pursuant to this Stipulation and Order.

               f.   The party returning the Identified Materials may move the Court for an

                    order compelling production of some or all of the Identified Material

                    returned or destroyed, but the basis for such motion may not be based on

                    the fact or circumstances of the production.

               g.   The disclosure of Identified Materials in this action is not a waiver of the

                    attorney-client privilege, work product doctrine or any other asserted

                    privilege in any other federal or state proceeding.

         20.   In the   event that     a   party produces          a   document    without    a

confidentiality designation as permitted by this Order, the following procedures shall

apply:

               a.   The producing party shall, within fourteen (14) days of the

                    discovery of the disclosure, notify the other party in writing. The

                    party receiving such notice shall promptly destroy the document,

                    including any copies it has, or return the document on request of

                    the producing party. Within ten (10) days after such document is

                    returned or its destruction certified, the producing party will




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                       produce a new version of any such document that was returned or

                       destroyed, which will contain the appropriate confidentiality

                       designation.

               b.      If the receiving party disputes the producing party's claim of

                       confidentiality, that party may move the Court to challenge the

                       confidential designation in accordance with Paragraph 4 of this

                       Order.   If the receiving party elects to file such a motion, the

                       receiving party may retain possession of the document, but shall

                       treat it in accordance with the terms of the Protective Order

                       pending resolution of the motion. If the receiving party's motion

                       is denied, the parties shall promptly comply with Paragraph 20(a)

                       of this Order.

               c.      The production of such document does not constitute a waiver of

                       any claim of confidentiality as set forth in this order or any other

                       matter in any other jurisdiction, unless otherwise ordered by the

                       Court.

       21.     This Protective Order may not be waived, modified, abandoned or terminated, in

whole or part, except by an instrument in writing signed by the parties. If any provision of this

Protective Order shall be held invalid for any reason whatsoever, the remaining provisions shall

not be affected thereby.

       22.     After termination of this litigation, the provisions of this Order shall continue to

be binding. This Court retains and shall have jurisdiction over the parties and recipients of the




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Protected Documents for enforcement of the provisions of this Order following termination of

this litigation.

         23.       This Protective Order shall be binding upon the parties in this case, upon their

attorneys, and upon the parties' and their attorneys' successors, executors, personal

representative, administrators, heirs, legal representatives, assigns, subsidiaries, divisions,

employees, agents, independent contractors, or other persons or organizations over which they

have control.


                                                AW?          DATED:   March 13, 2017
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                                                DATED:        March 13, 2017.
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       So Ordered, this 20 day of   i4.44rc        , 2017




                                          The Honorable Shawn F. Bratton
                                          Judge, State Court of Gwinnett County
